






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00528-CR







In re Sterling Shepard







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT


NO. 9034124, HONORABLE WILFORD FLOWERS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Sterling Shepard was convicted for possessing more than four grams of
cocaine.  This conviction was affirmed.  See Shepard v. State, No. 03-04-00038-CR, 2006 Tex. App.
LEXIS 2793 (Tex. App.--Austin, Apr. 6, 2006, pet. ref'd) (mem. op., not designated for
publication).  On June 22, 2007, Shepard filed a pro se motion for forensic DNA testing of the bag
in which the cocaine was found.  See Tex. Code Crim. Proc. Ann. art. 64.01 (West Supp. 2007).  The
district court denied the motion in a written order dated August 10, 2007, and this appeal followed.

Shepard represents himself on appeal.  On December 10, 2007, Shepard was notified
that his brief was overdue and advised that if he did not respond by January 11, 2008, the appeal
would be submitted for decision without briefs.  See Tex. R. App. P. 38.8(b).  Shepard has not filed
a brief or otherwise responded to the Court's notice.

The district court concluded that Shepard had not established by a preponderance of
the evidence that he would not have been convicted if exculpatory results had been obtained&nbsp;through
DNA testing.  See Tex. Code Crim. Proc. Ann. art. 64.03(a)(2)(A) (West Supp. 2007). 
This&nbsp;conclusion is supported by the record.  We find no error that should be considered in the
interest&nbsp;of justice.

The order denying forensic DNA testing is affirmed.



				__________________________________________

				Bob Pemberton, Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Affirmed

Filed:   March 12, 2008

Do Not Publish


